                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                               Plaintiff,         )
                                                  )
       v.                                         )
                                                  )   CASE NO. 06-00231-01-CR-W-NKL
ELOY M. APODACA,                                  )
                                                  )
                               Defendant.         )

                             REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local

Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to the lesser included charge

of Count 1 of the Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Fed.R.Crim.P. 11, I determined that the guilty plea

knowledgeable and voluntary as to the lesser included charge of Count 1 of the Indictment and that

the offense charged is supported by an independent basis in fact containing each of the essential

element of such offense. A record was made of the proceedings and a transcript is available. I

therefore recommend that the plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                        s/ JOHN MAUGHMER
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated: October 4, 2007




        Case 4:06-cr-00231-NKL              Document 65    Filed 10/04/07      Page 1 of 1
